     Case 1:21-cv-03106-APM Document 20 Filed 09/23/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
NICHOLAS FUENTES,                   )
                                    )
      Plaintiff,                    )
                                    )
              v.                    )                 No. 1:21-CV-03106 (APM)
                                    )
JOSEPH R. BIDEN, JR., et al.,       )
                                    )
                                    )
      Defendants.                   )
____________________________________)


                                NOTICE OF LODGING

       Official Capacity Defendants, through counsel, hereby give notice that they are

lodging a declaration from Russell Vieco, Acting Executive Director for Intelligence within

the Intelligence & Analysis Office at the Transportation Security Administration (TSA) for the

Court’s ex parte and in camera review only. This declaration is provided in support of

Official Capacity Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint. A

redacted version of the declaration is also being filed concurrently on the public docket as

an exhibit to the Reply Brief in Support of Official Capacity Defendants’ Motion to

Dismiss. As noted in Official Capacity Defendants’ Reply Brief, given that this declaration

is being filed in connection with a reply brief, Official Capacity Defendants do not object

to Plaintiff filing a supplemental response on this issue and are willing to meet-and-confer

with Plaintiff on an appropriate schedule.

       The full version of this declaration contains sensitive security information

protected from disclosure. If the Court concludes that it needs to review or rely on those
     Case 1:21-cv-03106-APM Document 20 Filed 09/23/22 Page 2 of 2




portions of the declaration in order to rule on the Motion to Dismiss, the declaration is

submitted solely for in camera and ex parte review. A representative of the Department

of Justice will deliver a hard copy of the in camera and ex parte declaration to the

Court’s chambers.



Dated: September 23, 2022               Respectfully Submitted,

                                        BRIAN M. BOYNTON
                                        Principal Deputy Assistant Attorney General
                                        Civil Division

                                        BRIGHAM J. BOWEN
                                        Assistant Director, Federal Programs Branch

                                        /s/ Alexander N. Ely
                                        ALEXANDER N. ELY
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